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 8   PayPal Holdings, Inc. and Individual Defendants
     Daniel H. Schulman, John D. Rainey, Patrick
 9   L.A. Dupuis, Wences Casares, Jonathan
     Christodoro, John J. Donahoe, David W.
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     Pierre M. Omidyar and Frank D. Yeary
11
     [Additional counsel on signature page]
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13
                                 UNITED STATES DISTRICT COURT
14
                              NORTHERN DISTRICT OF CALIFORNIA
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16
     IN RE PAYPAL HOLDINGS, INC.                       Lead Case No. 3:17-cv-00162-RS
17   SHAREHOLDER DERIVATIVE LITIGATION
                                                       (Consolidated with No. 3:17-cv-02206-RS;
18                                                     3:17-cv-02428-RS; and 5:17-cv-02446-RS)
     This Document Relates To:
19                                                     STIPULATION AND [PROPOSED]
                                                       ORDER REGARDING DISMISSAL OF
20   ALL ACTIONS                                       ACTION WITHOUT PREJUDICE
21                                                     Hon. Richard Seeborg
                                                       Courtroom 3, 17th Floor
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                                                           STIPULATION AND [PROPOSED] ORDER
                                                           REGARDING DISMISSAL OF ACTION WITHOUT
                                                           PREJUDICE - (LEAD CASE NO. 5:17-CV-000162-RS)
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 2          WHEREAS, on February 15, 2018, Plaintiffs served a litigation demand (the “Demand”)
 3   on the Board of Directors (the "Board") of PayPal Holdings, Inc. (“PayPal”);
 4          WHEREAS, on February 16, 2018, Plaintiffs filed a Verified Amended Stockholder
 5   Derivative Complaint in this Consolidated Derivative Action (the “Amended Complaint”);
 6          WHEREAS on April 23, 2018, the parties entered an agreement that tolls all statutes of
 7   limitations and/or time-based defenses, rules, laws or statutes in this Consolidated Derivative
 8   Action for a three-year period or until PayPal’s Board provides a final substantive response to the
 9   Demand (the “Tolling Agreement”);
10          WHEREAS, the parties conferred regarding the dismissal of this Consolidated Derivative
11   Action and agreed that: (i) Plaintiffs would voluntarily dismiss this Consolidated Derivative
12   Action in its entirety without prejudice; and (ii) notice of the voluntary dismissal of the
13   Consolidated Derivative Action pursuant to Federal Rule of Civil Procedure Rule 23.1(c) is
14   unnecessary because of the parties’ Tolling Agreement.
15          NOW, THEREFORE, the undersigned parties hereby stipulate and agree, and respectfully
16   request, that the Court enters an order as follows:
17          1.      This Consolidated Derivative Action is dismissed in its entirety without prejudice;
18   and
19          2.      Notice of the voluntary dismissal of this Consolidated Derivative Action is
20   unnecessary because of the parties’ Tolling Agreement, which prevents the expiration of the

21   statute of limitations to assert any claim asserted in the Amended Complaint and the Demand.

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                                                               STIPULATION AND [PROPOSED] ORDER
                                                     -1-       REGARDING DISMISSAL OF ACTION WITHOUT
                                                               PREJDICE - (LEAD CASE NO. 5:17-CV-000162-RS)
 1   Dated: April 25, 2018                    JAMES N. KRAMER
                                              ALEXANDER K. TALARIDES
 2                                            SUZETTE J. BARNES
                                              Orrick, Herrington & Sutcliffe LLP
 3

 4                                                         /s/ Alexander K. Talarides
                                                         ALEXANDER K. TALARIDES
 5
                                                       Attorneys for Nominal Defendant
 6                                              PayPal Holdings, Inc., and Individual Defendants
                                               Daniel H. Schulman, John D. Rainey, Patrick L.A.
 7                                            Dupuis, Wences Casares, Jonathan Christodoro, John
                                               J. Donahoe, David W. Dorman, Gail J. McGovern,
 8                                            David M. Moffett, Pierre M. Omidyar and Frank D.
                                                                     Yeary
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10            I, Alexander K. Talarides, am the ECF user whose ID and password are being used to file
     this Stipulation and [Proposed] Order regarding Dismissal of Action Without Prejudice. In
11   compliance with General Order 45, X.B., I hereby attest that Shane P. Sanders has concurred in
     this filing.
12

13   Dated: April 25, 2018                    BRIAN J. ROBBINS
                                              FELIPE J. ARROYO
14                                            SHANE P. SANDERS
                                              SCOTT F. TEMPLETON
15                                            ROBBINS ARROYO LLP
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17                                                           /s/ Shane P. Sanders
18                                                                Shane P. Sanders

19                                             Counsel for Plaintiffs Steve Sims and Edith Liss and
                                                       Co-Lead Counsel for All Plaintiffs
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                                                            STIPULATION AND [PROPOSED] ORDER
                                                  -2-       REGARDING DISMISSAL OF ACTION WITHOUT
                                                            PREJDICE - (LEAD CASE NO. 5:17-CV-000162-RS)
 1                                                    ***
 2                                                 ORDER
 3            Based on the stipulation of the signed parties, and good cause appearing, IT IS HEREBY
 4   ORDERED that the Stipulation is approved and these consolidated actions are ordered dismissed
 5   in their entirety without prejudice. The Clerk is directed to close this matter and all associated
 6   cases.
 7            It is so ORDERED.
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10   DATED: _______________________
11                                               THE HONORABLE RICHARD SEEBORG
                                                 UNITED STATES DISTRICT JUDGE
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                                                               STIPULATION AND [PROPOSED] ORDER
                                                    -3-        REGARDING DISMISSAL OF ACTION WITHOUT
                                                               PREJDICE - (LEAD CASE NO. 5:17-CV-000162-RS)
